LAEB Live System                                                                   https://laeb-ecf.sso.dcn/cgi-bin/NoticeOfFiling.pl?199307
             Case 22-10683 Doc 2 Filed 06/23/22 Entered 06/23/22 08:15:09 Main Document Page 1 of 2


                                                  United States Bankruptcy Court
                                                   Eastern District of Louisiana




         Notice of Bankruptcy Case Filing


         A bankruptcy case concerning the debtor(s) listed below
         was filed under Chapter 13 of the United States Bankruptcy
         Code, entered on 06/23/2022 at 08:10 AM and filed on
         06/22/2022.

         Ratrell Hill
         830 tupelo
         New Orleans, LA 70117




              The bankruptcy trustee is:

              S. J. Beaulieu, Jr.
              433 Metairie Road
              Suite 307
              Metairie, LA 70005
              (504) 831-1313
         The case was assigned case number 22-10683 to Judge Meredith S. Grabill.

         In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions
         against the debtor and the debtor's property. Under certain circumstances, the stay may be limited to 30 days or
         not exist at all, although the debtor can request the court to extend or impose a stay. If you attempt to collect a
         debt or take other action in violation of the Bankruptcy Code, you may be penalized. Consult a lawyer to
         determine your rights in this case.

         If you would like to view the bankruptcy petition and other documents filed by the debtor, they are available at
         our Internet home page https://ecf.laeb.uscourts.gov/cgi-bin/login.pl or at the Clerk's Office, Eastern District of
         Louisiana, Hale Boggs Federal Building, 500 Poydras Street, Suite B-601, New Orleans, LA 70130.

         You may be a creditor of the debtor. If so, you will receive an additional notice from the court setting forth
         important deadlines.


                                                                                   Denise Fredricks
                                                                                   Clerk, U.S. Bankruptcy Court




1 of 2                                                                                                                 6/23/2022, 8:10 AM
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           Case 22-10683 Doc 2 Filed 06/23/22 Entered 06/23/22 08:15:09 Main Document Page 2 of 2




2 of 2                                                                                                6/23/2022, 8:10 AM
